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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,

                                                    Case No. 06-20234

 v.

                                                    Hon. John Corbett O’Meara

 AHMAD KHILIA DANIELS,

       Defendant.

 _____________________________/

          OPINION AND ORDER DENYING DEFENDANT’S
      MOTION TO MODIFY THE TERMS OF IMPRISONMENT AND
              MOTION FOR APPOINTED COUNSEL

       Before the court is Defendant Ahmed Khilia Daniels’s motion for reduction

 of sentence, filed on May 31, 2013. The government filed a response to

 Defendant’s motion on June 17, 2013. In accordance with the government’s

 response, on July 17, 2013, the court held Defendant’s motion in abeyance until

 the Sixth Circuit Court of Appeals could rehear en banc U.S. v. Blewett—the basis

 for Defendant’s motion. U.S. v. Blewett, 719 F.3d 482 (6th Cir. 2013), vacated en

 banc, No. 12-5226/5582, 2013 WL 6231727 (6th Cir. 2013); cert. denied, 2014
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 WL 859676 (U.S. Mar. 31, 2014). For the reasons stated below, the court denies

 Defendant’s motion for reduction of sentence.

       On April 29, 2008, a jury convicted Defendant on three drug-related

 charges: (1) conspiracy to possess with the intent to distribute and to distribute

 controlled substances, in violation of 21 U.S.C. § 846; (2) distribution of cocaine

 base and aiding & abetting, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. §

 2; (3) possession with intent to distribute cocaine base and aiding & abetting, in

 violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2. And lastly, Defendant was

 convicted of violating 18 U.S.C. § 922(g)(1), felon in possession of a firearm.

 Based on those violations, on February 3, 2009, the court sentenced Defendant to

 262 months.

       Currently, Defendant seeks resentencing under the Fair Sentencing Act of

 2010 and the amended sentencing guidelines citing Blewett as the authority for

 retrospective application. As a general rule, a district court “may not modify a

 term of imprisonment once it has been imposed.” 18 U.S.C. § 3582(c). But §

 3582(c) provides an exception for defendants who were “sentenced to a term of

 imprisonment based on a sentencing range that has subsequently been lowered by

 the Sentencing Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. §

 3582(c)(2).
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       As to the retroactive application of the Fair Sentencing Act of 2010 and

 related sentencing guidelines, the provisions are inapplicable to defendants

 sentenced prior to the effective date—according to the en banc Blewett holding.

 124 Stat. 2372; Blewett, 2013 WL 6231727, at *2; U.S.S.G. § 2D1.1(c). “In our

 view: (1) the Fair Sentencing Act’s new mandatory minimums do not apply to

 defendants sentenced before it took effect; (2) § 3582(c)(2) does not provide a

 vehicle for circumventing that interpretation; and (3) the Constitution does not

 provide a basis for blocking it.” Blewett, 2013 WL 6231727, at *2.

       Moreover, this court previously found and sentenced Defendant in

 accordance with possessing ten kilograms of cocaine base. Even if Defendant was

 resentenced, the sentence would carry a mandatory minimum of ten years, not five

 years as Defendant argues. See Blewett, 2013 WL 6231727, at *1 (280 grams of

 cocaine base triggers mandatory ten year minimum).

       Lastly, Defendant filed on April 12, 2013, a motion to remove and reappoint

 counsel. More specifically, Defendant seeks to have this court appoint counsel for

 an appeal to the United States Supreme Court. Defendant, however, does not have

 the right to appointed counsel for the appeal. Review by the United States

 Supreme Court is discretionary. Ross v. Moffitt, 417 U.S. 600, 617 (1974).

 Furthermore, a “defendant does not have the constitutional right to counsel to
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 pursue discretionary [ ] appeals or applications for review in [the Supreme] Court.”

 Wainwrite v. Torna, 455 U.S. 586, 587 (1982).

       Therefore, IT IS HEREBY ORDERED that Defendant’s April 12, 2013

 motion to remove and reappoint counsel is DENIED. IT IS FURTHER

 ORDERED that Defendant’s May 31, 2013 motion for reduction of sentence is

 DENIED.

 Date: May 1, 2014                            s/John Corbett O’Meara
                                              United States District Judge



       I hereby certify that a copy of this order was served upon the parties of
 record on May 1, 2014 using the ECF system, and /or by first-class U.S. mail.



                                              s/William Barkholz
                                              Case Manager
